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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                             CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                      CLERK OF COURT

Date: September 08, 2023                                         DC Docket #: 04-cv-397
Docket #: 15-3135cv                                              DC Court: SDNY (NEW YORK
Short Title: Sokolow v. Palestine Liberation Organizat           CITY)DC Docket #: 04-cv-397
                                                                 DC Court: SDNY (NEW YORK
                                                                 CITY)DC Docket #: 04-cv-397
                                                                 DC Court: SDNY (NEW YORK
                                                                 CITY)
                                                                 DC Judge: Daniels
                                                                 DC Judge: Ellis



                              BILL OF COSTS INSTRUCTIONS



The requirements for filing a bill of costs are set forth in FRAP 39. A form for filing a bill of
costs is on the Court's website.

The bill of costs must:
* be filed within 14 days after the entry of judgment;
* be verified;
* be served on all adversaries;
* not include charges for postage, delivery, service, overtime and the filers edits;
* identify the number of copies which comprise the printer's unit;
* include the printer's bills, which must state the minimum charge per printer's unit for a page, a
cover, foot lines by the line, and an index and table of cases by the page;
* state only the number of necessary copies inserted in enclosed form;
* state actual costs at rates not higher than those generally charged for printing services in New
York, New York; excessive charges are subject to reduction;
* be filed via CM/ECF or if counsel is exempted with the original and two copies.
